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B1040 (FORM 1040) (12/15)


           ADVERSARY PROCEEDING COVER SHEET                                                                           ADVERSARY PROCEEDING NUMBER
                                                                                                                      (Court Use Only)
                                   (Instructions on Reverse)

       PLAINTIFFS                                                                                         DEFENDANTS
        Harold B. Murphy, Chapter 7 Trustee of                                                               United States of America, Department of the
        Barry Wisner Chapin                                                                                  Treasury, Internal Revenue Service,
                                                                                                             Massachusetts Department of Revenue, Barry
                                                                                                             Wisner Chapin, Ferris Development Group, LLC,
                                                                                                             and City of Boston

       ATTORNEYS (Firm Name, Address, and Telephone No.)                                                  ATTORNEYS (If Known)
        Charles R. Bennett, Jr., Esq.                                                                       David G. Baker
        Murphy & King, Professional Corporation                                                             236 Huntington Avenue, Ste. 317
        One Beacon Street                                                                                   Boston, MA 02115
        Boston, MA 02108                                                                                    (617) 340-3680
        (617) 423-0400 Fax: (617) 423-0498                                                                  Fax : (866) 661-5328
                                                                                                            (Attorney for the Debtor)

                                                                                                            Matthew J. Russell, Esq.
                                                                                                            Ferris Development Group, LLC
                                                                                                            325 Donald Lynch Boulevard, Suite 200
                                                                                                            Marlborough, MA 01752
                                                                                                            (Attorney for Ferris Development Group, LLC)
       PARTY (Check One Box Only)                                                                         PARTY (Check One Box Only)
          Debtor                       U.S. Trustee/Bankruptcy Admin                                           Debtor                         U.S. Trustee/Bankruptcy Admin
          Creditor                     Other                                                                   Creditor                       Other
          Trustee                                                                                              Trustee

   CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUES INVOLVED)
        This action is for relief pursuant to the equitable doctrine of marshalling, and 11 U.S.C. §§ 522 and 544, so as to
        establish the order of priority and distribution with respect to proceeds from the Trustee’s liquidation of several of the
        Debtor’s real properties. This action is also brought to avoid the mortgages granted by the Debtor to Ferris
        Development Group, LLC pursuant to 11 U.S.C. § 547 and preserve the liens created by the mortgages for the benefit of
        the Estate pursuant to 11 U.S.C. §§ 550 and 551. This is a core proceeding pursuant to 28 U.S.C. §157(A), (F), (N) and (O).

                                                                                  NATURE OF SUIT
             (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

        FRBP 7001(1) - Recovery of Money/Property                                                 FRBP 7001(6) - Dischargeability (continued)
 [ ]    11-Recovery of money/property - §542 turnover of property                         [   ]   61-Dischargeability - §523(a)(5), domestic support
 [3]    12-Recovery of money/property - §547 preference                                   [   ]   68-Dischargeability - §523(a)(6), willful and malicious injury
 [ ]    13-Recovery of money/property - §548 fraudulent transfer                          [   ]   63-Dischargeability - §523(a)(8), student loan
 [ ]    14-Recovery of money/property - other                                             [   ]   64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                                          (other than domestic support)
                                                                                          [ ]     65-Dischargeability - other
        FRBP 7001(2) - Validity, Priority or Extent of Lien
 [1]    21-Validity, priority or extent of lien or other interest in property                     FRBP 7001(7) - Injunctive Relief
                                                                                          [ ]     71-Injunctive relief - imposition of stay
        FRBP 7001(3) - Approval of Sale of Property                                       [ ]     72-Injunctive relief - other
 [ ]    31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                                  FRBP 7001(8) Subordination of Claim or Interest
        FRBP 7001(4) - Objection/Revocation of Discharge                                  [ ]     81-Subordination of claim or interest
 [ ]    41-Objection / revocation of discharge - §727(c),(d),(e)
                                                                                                  FRBP 7001(9) Declaratory Judgment
        FRBP 7001(5) - Revocation of Confirmation                                         [2]     91-Declaratory judgment
 [ ]    51-Revocation of confirmation
                                                                                                  FRBP 7001(10) Determination of Removed Action
        FRBP 7001(6) - Dischargeability                                                   [ ]     01-Determination of removed claim or cause
 [ ]    66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
 [ ]    62-Dischargeability - §523(a)(2), false pretenses,                                        Other
             false representation, actual fraud                                           [ ]     SS-SIPA Case - 15 U.S.C. §§78aaa et.seq.
 [ ]    67-Dischargeability - §523(a)(4), fraud as fiduciary,                             [ ]     02-Other (e.g. other actions that would have been brought in state
             embezzlement, larceny                                                                     court if unrelated to bankruptcy case)

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      Check if this case involves a substantive issue of state law                        Check if this is asserted to be a class action under FRCP 23


      Check if a jury trial is demanded in complaint                                   Demand $ Undetermined

   Other Relief Sought
 Equitable relief, declaratory judgment and avoidance and preservation of preferential mortgages


                          BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

 NAME OF DEBTOR                                                                                                   BANKRUPTCY CASE NO.
       Barry Wisner Chapin
                                                                                                                       20-10324
 DISTRICT IN WHICH CASE IS PENDING                                    DIVISION OFFICE                      NAME OF JUDGE
       District of Massachusetts                                             Eastern                             Hon. Janet E. Bostwick
                                                      RELATED ADVERSARY PROCEEDING (IF ANY)

 PLAINTIFF                                                     DEFENDANT                                     ADVERSARY PROCEEDING NO.


 DISTRICT IN WHICH ADVERSARY IS PENDING                                     DIVISION OFFICE                  NAME OF JUDGE


 SIGNATURE OF ATTORNEY (OR PLAINTIFF)



  /s/ Charles R. Bennett, Jr.
  Charles R. Bennett, Jr. (BBO #037380)

 DATE                                                          PRINT NAME OF ATTORNEY (OR PLAINTIFF)
 4/8/2020                                                      Charles R. Bennett, Jr.

                                                                          INSTRUCTIONS
             The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of all of the property of the
debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the jurisdiction of the court so broad, there may be lawsuits
over the property or property rights of the estate. There also may be lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy
court, it is called an adversary proceeding.

           A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding Cover Sheet, unless the party
files the adversary proceeding electronically through the court’s Case Management/Electronic Case Filing system (CM/ECF). (CM/ECF captures the
information on Form 1040 as part of the filing process.) When completed, the cover sheet summarizes basic information on the adversary proceeding.
The clerk of court needs the information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings or other papers as
required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-explanatory, must be completed by the plaintiff’s
attorney (or by the plaintiff if the plaintiff is not represented by an attorney). A separate cover sheet must be submitted to the clerk for each complaint
filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the plaintiff is represented by a law
firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an attorney, the plaintiff must sign.




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                        M UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 In re

 BARRY WISNER CHAPIN,                                Chapter 7
                                                     Case No. 20-10324-JEB
                        Debtor.


 HAROLD B. MURPHY AS HE IS THE
 CHAPTER 7 TRUSTEE OF BARRY
 WISNER CHAPIN,

                        Plaintiff,                   Adversary Proceeding
                                                     No. ___________
 v.

 UNITED STATES OF AMERICA,
 DEPARTMENT OF THE TREASURY,
 INTERNAL REVENUE SERVICE,
 MASSACHUSETTS DEPARTMENT OF
 REVENUE, BARRY WISNER CHAPIN,
 FERRIS DEVELOPMENT GROUP, LLC,
 and
 CITY OF BOSTON,

                        Defendants.


                                         COMPLAINT

         Harold B. Murphy as he is the Chapter 7 Trustee (the “Trustee”) of the bankruptcy estate

(the “Estate”) of Barry Wisner Chapin (the “Debtor” or “Chapin”) brings this action for relief

pursuant to the equitable doctrine of marshalling so as to compel a liquidation of the Debtor’s

property to maximize the recovery to the Estate and establish the priority of distribution with

respect to proceeds resulting from the liquidation of the Debtor’s real properties. The Trustee

seeks to compel the United States of America, Department of the Treasury, Internal Revenue

Service (“Internal Revenue Service”) and Massachusetts Department of Revenue to marshall



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by enforcing their respective liens against the Debtor’s real property located at 34 Fairfield

Street, Apartment 2, Boston, Massachusetts, so as to maximize the value of the Estate’s interest

in the Debtor’s remaining real properties. The Trustee asserts he is entitled to a marshalling

order because the order by which the Internal Revenue Service and the Massachusetts

Department of Revenue monetize their respective liens will materially affect the amount of

equity from the real properties available to the Estate.

         The Trustee further seeks to avoid the mortgages granted by the Debtor to Ferris

Development Group, LLC on each of his properties as preferential pursuant to 11 U.S.C. § 547

while preserving the liens created by the mortgages for the benefit of the Estate pursuant to 11

U.S.C. §§ 550 and 551.

                                PARTIES AND JURISDICTION

         1.     The Plaintiff Trustee is Harold B. Murphy as he is the duly appointed and acting

Chapter 7 Trustee of Barry Wisner Chapin.

         2.     The Defendant Internal Revenue Service is an agency of the Department of the

Treasury, United States of America with a place of business at 1111 Constitution Ave., N.W.,

Washington, D.C. 20224.

         3.     The Defendant Massachusetts Department of Revenue is an agency of the

Commonwealth of Massachusetts with a place of business at 100 Cambridge Street, Boston,

Massachusetts 02114.

         4.     The Defendant Barry Wisner Chapin is the Debtor, having commenced a

voluntary Chapter 7 proceeding on February 4, 2020.




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         5.     The Defendant Ferris Development Group, LLC is a limited liability corporation

duly organized under the laws of the Commonwealth of Massachusetts with a usual place of

business at 325 Donald Lynch Boulevard, Suite 200, Marlborough, Massachusetts 01752

(“Ferris”).

         6.     The Defendant City of Boston is a duly organized municipality with a place of

business at One City Hall Square, Boston, Massachusetts 02201-2013 (“City of Boston”).

         7.     This Court has jurisdiction over the subject matter of the action, pursuant to

28 U.S.C. 1334 and 28 U.S.C. § 157. This is a core proceeding, pursuant to 28 U.S.C. §157(A),

(F), (N) and (O). This venue is proper in this jurisdiction, pursuant to 28 U.S.C. § 1408.

                                    FACTUAL STATEMENT

         8.     Pursuant to the Debtor’s Schedules, the Debtor is the owner of the following

properties:

                a.      A certain condominium unit in the 32-34 Fairfield Street Condominium

identified as 34 Fairfield Street, Apartment 2, Boston, Massachusetts 02116 (“Fairfield”);

                b.      A certain condominium unit in Carlton Gardens Condominiums identified

as 147 Milk Street, No. 15, Westborough, Massachusetts (“Westborough No. 15”);

                c.      A certain condominium unit known and numbered as 155 Milk Street,

Apartment 3, Westborough, Massachusetts 01581 (“Westborough No. 3”); and

                d.      A certain condominium unit in Astor Condominiums identified as

225 Northeast First Street, No. 406, Delray Beach, Florida (the “Astor Unit”). Pursuant to the

order of the Probate and Family Court dated March 13, 2012 (the “Probate Court Order”)

incorporating the separation agreement between the Debtor and his ex-spouse, the Debtor

retained the Astor Unit as his sole property, free and clear of any right, title and interest of his



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ex-wife. Also pursuant to the Probate Court Order, the Debtor was to refinance the mortgage on

the Astor Unit into his individual name and his ex-wife was to execute a deed conveying the

Astor Unit to the Debtor. This has not yet occurred, and as such, the Debtor’s ex-spouse remains

on the title.

         9.     On information and belief, the Fairfield property has a value of $978,842 and is

subject to the following liens:

                a. 32-34 Fairfield Street Condominium ..............................$23,000.00

                b. Hingham Institute for Savings ......................................$523,381.00

                c. Internal Revenue Service ..............................................$350,032.50

                d. Massachusetts Department of Revenue ..........................$41,307.50

                e. Ferris ..............................................................................$55,571.28

                f. City of Boston .............................................................. Unknown

         10.    With respect to the obligations set forth above for the Internal Revenue Service,

the Debtor has scheduled the Internal Revenue Service as the holder of an unsecured, priority

claim in the amount of $327,000. Based upon his review, however, the Trustee believes that the

claim of the Internal Revenue Service holds a secured claim against each of the Debtor’s

properties in the approximate amount of $350,000.

         11.    Astor has a value of approximately $650,000 and is subject to the following liens:

                a. Astor Condominium Assoc. ............................................$ 3,496.24

                b. Columbus BB &T /Synovus Bank ................................$281,988.00

                b. Internal Revenue Service ..............................................$350,032..50

                c. Ferris ..............................................................................$61,571.28




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         12.   Westborough No. 15 is believed to have a value of $165,827 and is subject to the

following liens:

               a. Carlton Gardens Condominium Association ..................$30,000.00

               b. Freedom Mortgage ........................................................$114,783.52

               c. Internal Revenue Service ..............................................$350,032.50

               d. Massachusetts Department of Revenue ..........................$41,307.50

               e. Ferris ...............................................................................$55,571.28

         13.   Westborough No. 3 is believed to have a value of approximately $170,000 and is

subject to the following liens:

               a. Freedom Mortgage……………………………………$106,000.00

               b. Internal Revenue Service ..............................................$350,032.50

               c. Massachusetts Department of Revenue ..........................$41,307.50

               d. Ferris Development .........................................................$55,571.28

         14.   The Debtor was also the owner of a certain condominium unit in Ocean City Lofts

located at 185 Northeast Fourth Avenue, No. 210, Delray Beach, Florida 33444 (the “Ocean

City Unit”).

         15.   The Trustee has been informed that the Ocean City Loft Condominium

Association has foreclosed on its lien for unpaid condominium fees and the Ocean City Unit has

been sold for an amount in excess of the condominium fees owed. Upon information and belief,

the Association is holding the excess proceeds pending a determination as to priority of interest

in the proceeds.

         16.   The Trustee believes the following entities claim an interest in the proceeds from

the sale of the Ocean City Unit:



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                a. Synovus Bank/Dovenmuehle ........................................$160,626.01

                b. Internal Revenue Service ..............................................$350,032..00

                c. Ferris Development .........................................................$61,571.28

         17.    Internal Revenue Service asserts liens on all of the real property of the Debtor.

The Massachusetts Department of Revenue asserts a lien on the Fairfield property and each of

Westborough No. 3 and Westborough No. 15.

         18.    The order in which the Debtor’s real properties are liquidated and the proceeds

from such a liquidation are distributed will determine whether there is equity in the property for

the benefit of the Estate.

         19.    On December 26, 2019, Ferris obtained a lien on certain real property of the

Debtor by recording mortgages on the Fairfield, Westborough No. 3 and Westborough No. 15

properties (the “Massachusetts Mortgages”).

         20.    On January 15, 2020, Ferris obtained a lien on real property of the Debtor by

recording mortgages on the Ocean City Unit and the Astor Unit properties (the “Florida

Mortgages”).

                                                   COUNT I

    (For A Judgment To Compel The Internal Revenue Service And The Massachusetts
                        Department Of Revenue To Marshall)

         21.    The Trustee realleges and repeats the allegations contained above and by

reference incorporates them herein.

         22.    The Trustee, by reason of the rights granted to him pursuant to 11 U.S.C.

§ 544(a), has the rights and powers of a hypothetical lien creditor with respect to the real

properties of the Debtor.




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         23.     The Trustee and the Internal Revenue Service assert liens on all of the Debtor’s

real property and an interest in the proceeds from the sale of the Astor Unit. The Trustee, Internal

Revenue Service and the Massachusetts Department of Revenue each assert a lien on the

property of the Debtor located in Massachusetts.

         24.     The real properties specified in paragraph 8(a)-(d) above and the proceeds from

the sale of the Ocean City Unit are property of the Estate.

         25.     Pursuant to 11 U.S.C. §522(c)(2)(B), the Internal Revenue Service and

Massachusetts Department of Revenue can sell the Fairfield Street property free and clear of the

Debtor’s homestead and are entitled to the proceeds from the sale of the Fairfield Street property

prior to payment to the Debtor on account of the homestead.

         26.     If the Internal Revenue Service and the Massachusetts Department of Revenue

receive proceeds from the sale of the Debtor’s properties other than from the Fairfield property,

and satisfy or substantially satisfy their obligations from those proceeds, the Estate’s interest in

the Fairfield Street property will be subject to the Debtor’s homestead exemption, and the equity

created in the Fairfield Street property will benefit only the Debtor, to the substantial detriment

of the Estate.

         27.     Compelling the Internal Revenue Service and the Massachusetts Department of

Revenue to satisfy their liens from the sale of the Fairfield property prior to seeking satisfaction

of the liens from any sale of the Debtor’s other properties will not impair the Internal Revenue

Service or the Massachusetts Department of Revenue’s rights to obtain satisfaction of their

obligations in full.

         28.     Compelling such a priority of distribution will substantially benefit the Estate by

the resulting equity in the proceeds from the sale of the Debtor’s other assets.



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         29.   Compelling the foregoing priority distribution from the sale of the assets will not

result in any injustice to the Debtor or any third persons.

         30.   Conversely, to allow the Internal Revenue Service and the Massachusetts

Department of Revenue to receive a priority distribution as against the Debtor’s properties other

than from the Fairfield property will result in a windfall for the Debtor because his homestead

exemption is currently subject to the liens of the Internal Revenue Service and the Massachusetts

Department of Revenue. Allowing payment by the Internal Revenue Service and the

Massachusetts Department of Revenue from properties other than the Fairfield property will

create equity in the Fairfield property for the Debtor’s sole benefit, and cause the unsecured

creditors to receive a significantly reduced portion of available funds.

         31.   Nor will requiring the Internal Revenue Service and the Department of Revenue

to proceed against the Fairfield Street property first result in any prejudice to Ferris because its

liens on the Debtor’s property are avoidable as preferential transfers. Accordingly, the Trustee

requests that the Court exercise its equitable powers to compel the Internal Revenue Service and

the Massachusetts Department of Revenue to marshal their collateral and proceed first to enforce

their lien against the Fairfield property so as to maximize the value that the Estate will receive

from the sale of the Debtor’s property, to the benefit of the Estate’s creditors.

                                             COUNT II

                                      (For Declaratory Relief)

         32.   The Trustee repeats and realleges the allegations contained above and by

reference incorporates them herein.

         33.   To the extent the Internal Revenue Service, the Massachusetts Department of

Revenue, Ferris or the Debtor oppose the Trustee’s request that the Internal Revenue Service and



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the Massachusetts Department of Revenue first enforce their liens against the Fairfield Street

property, an actual controversy exists for which the Trustee is entitled to a Declaratory Judgment

compelling the Internal Revenue Service and the Massachusetts Department of Revenue to

marshall.

                                           COUNT III

         (Against Ferris To Avoid Mortgages As A Preference And Preserve Those Liens
                                 For The Benefit Of The Estate)

          34.   The Trustee repeats and realleges the allegations contained above and by

reference incorporates them herein.

          35.   The Massachusetts Mortgages and the Florida Mortgages (collectively, “the

Mortgages”) were granted by the Debtor to Ferris within ninety (90) days of the commencement

of the Debtor’s chapter 7 case at a time when the Debtor was insolvent.

          36.   The Mortgages secured antecedent unsecured debt or primarily antecedent of the

Debtor to Ferris.

          37.   To the extent that the Mortgages did not secure debt on account of

contemporaneous value provided to the Debtor, the Mortgages will allow Ferris to recover more

than it otherwise would have received if the Mortgages had not been granted and Ferris received

a distribution as an unsecured creditor in this Chapter 7 case.

          38.   The Trustee may avoid the Mortgages granted to Ferris in whole or in part

pursuant to 11 U.S.C. § 547 while preserving the liens created by the Mortgages for the benefit

of the Estate pursuant to 11 U.S.C. §§ 550 and 551 of the Bankruptcy Code.

          WHEREFORE, Harold B. Murphy, as he is the Trustee of the Chapter 7 Estate of Barry

Chapin, respectfully prays as follows:




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          1. The Court enter Judgment for the Trustee under Count I compelling the Internal

              Revenue Service and the Massachusetts Department of Revenue to satisfy the

              obligations owed to them by proceeding first to enforce their liens against the

              Fairfield property;

          2. The Court enter a Declaratory Judgment determining that the Trustee may compel

              the Internal Revenue Service and the Massachusetts Department of Revenue to

              marshall and seek to satisfy their obligations first by foreclosing on their lien on

              the Fairfield property before looking to any other property of the Debtor.

          3. The Court enter judgment for the Trustee under Count III avoiding the Mortgages

              of Ferris and preserving the avoided liens for the benefit of the Bankruptcy Estate.

          4. For such other relief this Court deems just and proper.

                                                     Respectfully Submitted,

                                                      /s/ Charles R. Bennett, Jr.
                                                     Harold B. Murphy (BBO #326610)
                                                     Charles R. Bennett, Jr. (BBO #037380)
                                                     Kathleen R. Cruickshank (BBO #550675)
                                                     Murphy & King, P.C.
                                                     One Beacon Street
                                                     Boston, MA 02108
                                                     (617) 423-0400
                                                     hmurphy@murphyking.com
                                                     cbennett@murphyking.com
                                                     kcruickshank@murphyking.com
Dated: April 10, 2020




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